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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



 TENITA BRYANT, et al.,                      )      CASE NO. 1:19CV1075
                                             )
                       Plaintiffs,           )      JUDGE CHRISTOPHER A. BOYKO
                                             )
               vs.                           )      DEFAULT JUDGMENT
                                             )
 NORTH COAST NATURAL                         )
 SOLUTIONS, LLC, et al.,                     )
                 Defendants.                 )


 CHRISTOPHER A. BOYKO, J.:

        This matter comes before the Court upon the Renewed Motion (ECF DKT #100) of

 Plaintiffs, Theodore McQueen, Marcus Moore, Angelo McKenzie, and Larry Gardner, Jr.,

 individually and on behalf of the Fair Labor Standards Act (“FLSA”) Collective Class, for

 Default Judgment in their favor and against Defendants North Coast Natural Solutions, LLC,

 North Coast 5 Natural Solutions Corporation, Level 5 Global International Holdings

 Corporation and Tierney Williams (“North Coast Defendants”) on Counts I and II of the

 Second Amended Complaint.

        On March 20, 2023, the Clerk entered default against the North Coast Defendants.

 Further, on May 19, 2023, the Court issued an Opinion and Order (ECF DKT #98) finally
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 certifying a Collective Class made up of four named Plaintiffs and sixty-three Opt-in Plaintiffs

 against those same Defendants for violations of the FLSA. Thus, liability has been decided in

 the moving Plaintiffs’ favor.

        On May 31, 2023, the Court issued an Order (ECF DKT #99) requiring Plaintiffs to

 file a motion for default judgment within thirty days against the North Coast Defendants; and

 in lieu of an evidentiary hearing, to submit supporting sworn evidence of damages, calculated

 by hours worked at the applicable hourly rate for each member of the Collective Class. The

 Court warned that failure to file the appropriate motion in a timely fashion would result in

 dismissal of the above-captioned action without prejudice for lack of prosecution.

        The instant Motion was filed on June 30, 2023. Plaintiffs submit twenty-six affidavits

 of Class Members, attesting to their hours worked, their hourly pay rates and to the fact that

 they never received compensation. (ECF DKT #100 & ECF DKT #100-1). Their damages

 total $242,991.62. Plaintiffs also offer two unsworn statements and three affidavits of

 individuals who did not opt-in to the finally-certified Collective Class.

        The Court will not consider the two unsworn statements because they do not constitute

 competent evidence.

        To bring a collective FLSA action, a plaintiff must file a written consent to opt-in to

 the collective action. 29 U.S.C. § 216(b). For purposes of the statute of limitations, the filing

 of the written consent “commences” an FLSA collective action. 29 U.S.C. § 256. The three

 individuals, identified in Plaintiffs’ Exhibit 3 (ECF DKT #100-3), last worked for the North

 Coast Defendants in May of 2019. The action was not commenced, therefore, within the

 three-year statute of limitations as to those three individuals who did not previously opt-in to


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 the Collective Class. They are not parties to this litigation and cannot legitimately recover

 damages.

        The North Coast Defendants have offered no challenge to the Second Amended

 Complaint, the Final Certification Motion or the instant Motion for Default Judgment.

        Therefore, in conclusion, Default Judgment is entered in favor of the twenty-six

 Collective Class Members identified in the Motion and Exhibit 1 (ECF DKT #100 & ECF

 DKT #100-1), and against the North Coast Defendants on Counts I and II of the Second

 Amended Complaint in the amount of $242,991.62, statutory interest from the date of

 judgment and costs.



        IT IS SO ORDERED.

        DATE: August 1, 2023


                                       s/Christopher A. Boyko
                                       CHRISTOPHER A. BOYKO
                                       United States District Judge




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